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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                          Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Barr
 THIS DOCUMENT RELATES TO:
 Roane, et al. v. Barr, No. 05-2337


                                  NOTICE OF FILING

       Defendants respectfully give notice of a development in Plaintiff Dustin Higgs’s criminal

case. As the Court is aware, the United States District Court for the District of Maryland had

previously denied the government’s motion to amend Higgs’s criminal judgment to designate

Indiana as the state whose laws should govern the manner of implementing Higgs’s death sentence

pursuant to the Federal Death Penalty Act, 18 U.S.C. § 3596(a). United States v. Higgs, No. 98-

0520, 2020 WL 7707165 (D. Md. Dec. 29, 2020). The government appealed that decision. As

reported in Higgs’s notice of yesterday, January 10, 2021, the United States Court of Appeals for

the Fourth Circuit set argument for that appeal for January 27, 2021, and denied the government’s

motion to expedite it. ECF Nos. 390-1, 390-2.

       Today, the government filed a petition for a writ of certiorari before judgment with the

United States Supreme Court, seeking summary reversal of the December 29, 2020, order of the

United States District Court for the District of Maryland.. The government requested that the

Supreme Court designate Indiana as providing the governing law, or in the alternative, that the

Supreme Court construe the petition as one for a writ of mandamus and order the district court to

designate Indiana for the same reasons. The government’s petition has not yet been assigned a case

number.
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Respectfully submitted,

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Dated: January 11, 2021




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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2021, I caused a true and correct copy of

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